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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            :
                                                    :
                                                    :
              v.                                    :      No. 1:19-CR-00125 (ABJ)
                                                    :
                                                    :
GREGORY B. CRAIG,                                   :
                             Defendant.             :

             NOTICE OF GOVERNMENT’S LIST OF RELEVANT NAMES

       Pursuant to the Court’s Minute Order of August 5, 2019, for the purposes of voir dire, the

government provides the following list of names that could arise and/or witnesses who could be

called during the government’s case-in-chief.

Skadden, Arps                     FTI Consulting                     DMP International
Bruce Buck                        Jon Aarons                         Richard Gates
Matthew Cowie                     Jonathan Hawker                    Konstantin Kilimnik
Eric Friedman                     Mark Malloch-Brown                 Paul Manafort
Ken Gross                         Ed Reilly
Alex Haskell                                                         Ukrainian Public Officials
Allon Kedem                       Special Counsel’s Office           and Citizens
Paul Kerlin                       and FBI Agents                     Victor Pinchuk
Margaret Krawiec                  Russ Beverly                       Yulia Tymoshenko
Peter Lesser                      Kevin Constantine                  Serhiy Vlasenko
Michael Loucks                    Michael Dreeben                    Viktor Yanukovych
Melissa Porter                    Brock Domin
Noah Puntus                       Michael Ficht                      Mercury Public Affairs
Kara Roseen                       Daniel Kegl                        Lucy-Claire Saunders
Lillian Singer                    Spencer Lucas                      John Vincent “Vin” Weber
Cliff Sloan                       Omer Meisel
Larry Spiegel                     Robert Mueller III                 Other Individuals
Alex van der Zwaan                Brian Richardson                   David Herszenhorn
Catherine Whitney                 Andrew Weissman                    Al Hunt
Lauren Weiss                                                         Tom Parfitt
Earle Yaffa                       FARA Unit                          David Sanger
David Zornow                      Kevin Connolly                     Doug Schoen
                                  Heather Hunt                       Jim Slattery
                                  Alex Mudd
                                  Timothy Pugh
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                             Respectfully submitted,

                             JESSIE K. LIU
                             UNITED STATES ATTORNEY
                             D.C. Bar Number 472845


                          By: /s/ Molly Gaston
                             FERNANDO CAMPOAMOR-SÁNCHEZ (DC 451210)
                             MOLLY GASTON (VA 78506)
                             Assistant United States Attorneys
                             United States Attorney’s Office
                             555 Fourth Street, N.W.
                             Washington, D.C. 20530
                             Telephone: 202-252-7698/202-252-7803
                             Fernando.Campoamor-Sanchez@usdoj.gov
                             Molly.Gaston@usdoj.gov


                             JOHN C. DEMERS
                             ASSISTANT ATTORNEY GENERAL


                          By: /s/ Jason B.A. McCullough
                             JASON B.A. MCCULLOUGH (DC 998006; NY 4544953)
                             Trial Attorney
                             Department of Justice
                             National Security Division
                             950 Pennsylvania Ave NW
                             Washington, D.C. 20530
                             Telephone: 202-616-1051
                             Jason.McCullough@usdoj.gov

Dated: August 6, 2019
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                                      Certificate of Service

       I hereby certify that by virtue of the ECF system, I have served a copy of the foregoing
Notice on counsel for the defendant.

                                                                     /s/
                                                               Molly Gaston
